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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION

RETHINK35, et al.                         §
                                          §
             Plaintiffs,                  §
v.                                        §
                                          §
TEXAS DEPARTMENT OF                       §
TRANSPORTATION,                           §
                                          §     CIVIL ACTION NO. 1:24-CV-00092-DII
             Defendant.                   §
                                          §
                                          §
                                          §
                                          §

        ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL

TO THE HONORABLE JUDGE OF THE DISTRICT COURT:

      Came on to be considered this day the Motion to Withdraw as counsel filed by

Defendant Texas Department of Transportation (“TxDOT”), seeking Aidan Read’s

withdrawal as counsel of record for Defendant. Having considered the Motion and

noting that the Defendant continues to be represented by Lisa McClain Mitchell,

Matt Gamboa-Lutz, and Luke Hill of the Office of the Attorney General and Ryan P.

Bates of Bates PLLC, the Court finds that the Motion bears merit and is granted.

      IT IS THEREFORE ORDERED that Aidan Read is hereby withdrawn as

counsel for Defendant TxDOT in this cause.
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SIGNED this ______ day of ____________, 2025.

                                    ______________________________________
                                    ALAN D. ALBRIGHT
                                    UNITED STATES DISTRICT JUDGE
